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Elizabeth A. Kaleva
Kevin Twidwell
Elizabeth A. O’Halloran
KALEVA LAW OFFICES
1911 S. Higgins Ave.
P.O. Box 9312
Missoula, MT 590807-9312
406.542.1300 (Office)
406.721.1046 (Fax)
eakaleva@kalevalaw.com
ktwidwell@kalevalaw.com
bohalloran@kalevalaw.com

Attorney for Defendants Frenchtown
School District and Randy Cline

                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION

T.C. and G.C.,
as parents and next friends of               Civil Action No. CV 17-176-M-DLC
JANE DOE, a minor,

             Plaintiffs,
                                             DEFENDANTS’ FIRST AMENDED
       v.                                       ANSWER, AFFIRMATIVE
                                              DEFENSES AND DEMAND FOR
FRENCHTOWN SCHOOL                                    JURY TRIAL
DISTRICT
and
RANDY CLINE, in his
individual capacity,

             Defendants.


      DEFENDANTS Frenchtown School District and Randy Cline (“Defendants”

or “District”) answer Plaintiffs’ Complaint as follows:

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      1.       Answering paragraph 1, upon information and belief, Defendants

admit that Plaintiffs are residents of Mineral County and admit that Doe was a

student enrolled in Frenchtown High School during the 2016-2017 school year.

      2.       Answering paragraph 2, Defendants admit that Frenchtown School

District is a Montana public school district, that it receives state and federal

funding and is subject to Title IX.

      3.       Answering paragraph 3, Defendants admit that Randy Cline is a

Montana resident and during the 2016-2017 and 2017-2018 academic years, Mr.

Cline was and is employed by the District as Superintendent of the District.

      4.       Answering paragraph 4, Defendants admit that this Court has

jurisdiction over this case.

      5.       Answering paragraph 5, Defendants admit that venue in this District is

proper.

      Response to Assertions in Section Titled “General Allegations” and
                           “Summary of Claims”

      6.       Answering paragraph 6, Defendants admit that the Troy Bashor is a

teacher at Frenchtown High School, admit that some District employees are

mandatory reporters under Montana law and admit that the District received one

report in 2015 that a student was uncomfortable around Mr. Bashor and that it

received a report from Student A and Doe about Mr. Bashor in 2017. Defendants

deny they ignored any reports and deny they failed to take measures to protect

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female students at Frenchtown High School. Defendants deny the remaining

allegations in this paragraph.

      7.     Answering paragraph 7, the allegations concern alleged actions of Mr.

Bashor that have not been substantiated. As such, no response to the allegations are

necessary. To the extent a response is required, Defendants lack sufficient

knowledge and information to admit or deny the allegations and therefore deny

them. The Defendants deny any wrongdoing alleged in this paragraph.

      8.     Answering paragraph 8, Defendants admit that the Missoula County

Sheriff’s Office conducted an investigation related to a complaint about Mr.

Bashor in January 2017 and admit that Mr. Bashor was charged with misdemeanor

sexual assault in October 2017.

      9.     Answering paragraph 9, Defendants deny the allegations.

      10.     Answering paragraph 10, Defendants deny the allegations.

      11.     Answering paragraph 11, Defendants deny the allegations and assert

that District staff promptly and adequately investigated and responded to all

allegations of harassment, bullying and threats. Defendants lack sufficient

knowledge and information regarding Doe’s decision to leave the District and/or

her alleged distress and therefore deny the allegations.

Response to Assertions in Section Titled “Sex Offender Grooming Behaviors”




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      12.    Answering paragraph 12, Plaintiffs set forth a narrative that purports

to recite behaviors described as “grooming” but does not assert any allegations

against Defendants. As such no response to the narrative is necessary, and to the

extent a response is necessary, Defendants deny any allegations of wrongdoing.

      13.    Answering paragraph 13, Plaintiffs set forth a narrative that purports

to recite behaviors described as “grooming” but does not assert any allegations

against Defendants. As such no response to the narrative is necessary, and to the

extent a response is necessary, Defendants deny any allegations of wrongdoing.

      14.   Answering paragraph 14, Plaintiffs set forth a narrative that purports

to recite behaviors described as “grooming” but does not assert any allegations

against Defendants. As such no response to the narrative is necessary, and to the

extent a response is necessary, Defendants deny any allegations of wrongdoing.

  Response to Allegations in Section Titled “Frenchtown School District’s
 Notice of Bashor’s Previous Grooming and Harassment of Another Female
                                  Student”

      15.    Answering paragraph 15, Defendants admit that Mr. Bashor is a

music teacher at Frenchtown High School and Frenchtown Junior High School and

that the buildings are adjoined and share a common campus. Defendants deny any

allegations against Mr. Bashor were made to the Defendants in 2014. Defendants

deny that since 2014 multiple students reported the uncomfortable or harassing

behaviors to them as set forth in this paragraph. Defendants admit that Doe made



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allegations against Mr. Bashor in 2017. Defendants lack sufficient knowledge and

information regarding the allegations of inappropriate discussions of sexual and

reproductive topics to admit or deny the allegations and therefore deny them.

      16.    Answering paragraph 16, Defendants admit that Student A enrolled

in Frenchtown Junior High School as a seventh grader in 2014. Defendants admit

that Student A was enrolled in seventh grade choir and clarifies that placement of

students is done in consultation with the student and District staff. Defendants lack

sufficient knowledge and information to admit or deny the remainder of the

allegations in the paragraph and therefore deny them.

      17.    Answering paragraph 17, Defendants lack sufficient knowledge and

information to admit or deny the allegations about what Student A told her mother

and therefore deny the allegations. Defendants admit that Student A’s mother

contacted a school counselor about her daughter. Defendants deny the allegations

that Mr. Cline spoke with the mother or made the comments attributed to him in

this paragraph. Defendants deny the remaining allegations in the paragraph.

      18.    Answering paragraph 18, Defendants deny they were notified about

the allegations in 2015 and therefor lack sufficient knowledge and information to

admit or deny the allegations and therefore deny the allegations.




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      19.    Answering paragraph 19, Defendants deny they were notified in 2016

about the allegations and therefore lack sufficient knowledge and information to

admit or deny the allegations and therefore deny the allegations.

      20.    Answering paragraph 20, Defendants deny they were informed about

the allegations and therefore lack sufficient knowledge and information to admit or

deny the allegations and therefore deny the allegations.

      21.     Answering paragraph 21, Defendants deny they were informed about

the allegations and therefore lack sufficient knowledge and information to admit or

deny the allegations and therefore deny the allegations.

      22.    Answering paragraph 22, Defendants admit that Mr. Bashor is a

popular teacher with some of the students involved in his choir, theater and music

programs as well as the coffee shop on campus. Defendants were not notified

about the specific allegations prior to 2017 and therefor lack sufficient knowledge

and information to admit or deny the remaining allegations in the paragraph and

therefore deny them.

      23.    Answering paragraph 23, Defendants lack sufficient knowledge and

information to admit or deny what Student A told her friends and therefore deny

the allegations. Defendants admit that Mr. Hutchison spoke with certain students

about Mr. Bashor and that Mr. Hutchison talked with Mr. Bashor about Student A




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feeling uncomfortable around him. Defendants deny that Mr. Bashor had

previously been disciplined for inappropriately touching students.

      24.    Answering paragraph 24, Defendants lack sufficient knowledge and

information to admit or deny the allegations and therefore deny the allegations.

      25.    Answering paragraph 25, Defendants admit that on January 11, 2017,

Student A spoke with Mr. Cioe. Defendants admit that the class was reading a

book titled “Speak.” Defendants admit that Student A informed Mr. Cioe that she

was uncomfortable around Mr. Bashor, was uncomfortable walking along the

hallway and admit that she told Mr. Cioe that Mr. Bashor ran his finger down her

spine. Defendants deny the remaining allegations in this paragraph, in particular,

the allegation that Mr. Cioe was told that Mr. Bashor grabbed Student A’s butt.

      26.    Answering the allegations in paragraph 26, Defendants admit that Mr.

Cioe spoke with Mr. Haynes the next day about the conversation he had with

Student A. Defendants deny that Mr. Cioe told Mr. Haynes he needed to speak to

Mr. Bashor immediately. Defendants admit that Mr. Haynes did not report the

conversation to police immediately and clarify that the information Mr. Haynes

received was that Student A was simply uncomfortable around Mr. Bashor and that

this is not required to be reported to authorities. Defendants admit that Mr. Haynes

disclosed the conversation with a sheriff’s deputy who later contacted him.




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      27.    Answering paragraph 27, Defendants admit Mr. Cioe, Mr. Hutchison

and Mr. Haynes are mandatory reporters under Montana law.

       Response to Allegations in Section Titled “Everyone’s Favorite Teacher
                        – Begins Grooming Jane Doe”

      28.    Answering paragraph 28, upon information and belief Defendants

admit that Doe moved to Frenchtown in the summer of 2015 and that she enrolled

in Frenchtown High School. Defendants admit that Doe was enrolled in musical

theater class after consulting with an adviser. Defendants lack sufficient knowledge

and information to admit or deny what the “counselor” said about Mr. Bashor and

therefore deny the allegations.

      29.    Answering paragraph 29, Defendants admit that students sometimes

ate lunch in Mr. Bashor’s classroom (and other classrooms) but Defendant lack

sufficient knowledge and information to admit or deny the allegations and

therefore deny the allegations.

      30.    Answering paragraph 30, Defendants admit that Doe sometimes ate

lunch in Mr. Bashor’s classroom but Defendants lack sufficient knowledge and

information to admit or deny the remaining allegations in the paragraph and

therefore deny them.

      31.    Answering paragraph 31, Defendants deny they were informed of the

allegations and therefore lack sufficient knowledge and information to admit or

deny the allegations and therefore deny the allegations.

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      32.    Answering paragraph 32, Defendants admit that at times Mr. Bashor

texted Doe and other students on their personal telephones, played games with Doe

on her smart phones and friended her on the Choir Facebook. Defendants lack

sufficient knowledge and information to admit or deny the remaining allegations in

the paragraph and therefore deny them.

      33.    Answering paragraph 33, Defendant admits that Mr. Bashor

acknowledged that he hugged Doe and other students. Defendants lack sufficient

knowledge and information to admit or deny the remaining allegations in the

paragraph and therefore deny them.

      34.    Answering paragraph 34, Defendants deny Doe informed them of

these allegations and therefor lack sufficient knowledge and information to admit

or deny the allegations and therefore deny the allegations.

      35.    Answering paragraph 35, Defendants admit that Doe was Mr.

Bashor’s student aid but Defendants lack sufficient knowledge and information to

admit or deny the remaining allegations in the paragraph and therefore deny them.

Defendants state that it is proper procedure for the teacher to complete the requisite

forms for a student to become an aid.

      36.    Answering paragraph 36, Defendants deny Doe informed them of

these allegations, therefore they lack sufficient knowledge and information to

admit or deny the allegations and therefore deny the allegations.



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      37.    Answering paragraph 37, Defendants admit that Doe was in

percussion class and deny that she refused to sign up for percussion class but

instead requested the class.

      38.    Answering paragraph 38, Defendants deny Doe informed them of the

allegations and therefore lack sufficient knowledge and information to admit or

deny the allegations and therefore deny the allegations.

      39.    Answering paragraph 39, Defendants deny Doe informed them of the

allegations, and therefore they lack sufficient knowledge and information to admit

or deny the allegations and therefore deny the allegations.

      40.    Answering paragraph 40, Defendants deny Doe informed them of the

allegations, and therefore they lack sufficient knowledge and information to admit

or deny the allegations and therefore deny the allegations.

      41.    Answering paragraph 41, Defendants deny that Doe informed them

of the allegations, and therefore they lack sufficient knowledge and information to

admit or deny the allegations and therefore deny the allegations.

      42.    Answering paragraph 42, Defendants deny that Doe informed them

of the allegations, and therefore lack sufficient knowledge and information to

admit or deny the allegations and therefore deny the allegations.




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      43.    Answering paragraph 43, Defendants deny that Doe informed them

of the allegations, and therefore lack sufficient knowledge and information to

admit or deny the allegations and therefore deny the allegations.

      44.    Answering paragraph 44, Defendants deny that Doe informed them

of the allegations, and therefore they lack sufficient knowledge and information to

admit or deny the allegations and therefore deny the allegations.

      45.    Answering paragraph 45, Defendants deny that Doe informed them

of the allegations, and therefore lack sufficient knowledge and information to

admit or deny the allegations and therefore deny the allegations.

      46.    Answering paragraph 46, Defendants deny that Doe informed them

of the allegations, and therefore lack sufficient knowledge and information to

admit or deny the allegations and therefore deny the allegations.

              Response to Allegations in Section Titled “Mr. Bashor Sexually
                                   Assaults Doe”

      47.    Answering paragraph 47, Defendants lack sufficient knowledge and

information to admit or deny the allegations and therefore deny the allegations.

      48.    Answering paragraph 48, Defendants deny that Doe informed them

of the allegations, and therefore lack sufficient knowledge and information to

admit or deny the allegations and therefore deny the allegations.

      49.    Answering paragraph 49, Defendants admit that Doe told Mr. Haynes

about the allegations contained in this paragraph with the exception that she

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reported to Mr. Haynes that Mr. Bashor touched her on the small of her back and

upper buttocks. Defendants lack sufficient knowledge and information to admit or

deny that the allegations are true and therefore deny them.

      50.    Answering paragraph 50, Defendants admit that Doe told Mr. Haynes

the allegations contained in this paragraph with the exception of the claim that Mr.

Bashor moved his hands up her sweatshirt. Defendants lack sufficient knowledge

and information to admit or deny the allegation that Doe froze in panic before

finally pulling away and therefore deny the allegation. Defendants lack sufficient

knowledge and information to admit or deny that the allegations are true and

therefore deny them.

      51.    Answering paragraph 51, admit that Doe told Mr. Haynes the

allegations contained in this paragraph. Defendants lack sufficient knowledge and

information to admit or deny that the allegations are true and therefore deny them.

      52.    Answering paragraph 52, Defendants admit that Doe told Mr. Haynes

that Mr. Bashor commented “Oh, that was awkward.” Defendants lack sufficient

knowledge and information to admit or deny that the allegation is true and

therefore deny it. Defendants lack sufficient knowledge and information to admit

or deny that the remaining allegations in the paragraph and therefore deny them.




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      53.    Answering paragraph 53, Defendants deny that Doe informed them

of the allegations, and therefore they lack sufficient knowledge and information to

admit or deny the allegations and therefore deny the allegations.

      54.    Answering paragraph 54, Defendants deny that Doe informed them

of the allegations, and therefore they lack sufficient knowledge and information to

admit or deny the allegations and therefore deny the allegations.

      55.    Answering paragraph 55, Defendants deny that Doe informed them

of the allegations, and therefore they lack sufficient knowledge and information to

admit or deny the allegations and therefore deny the allegations.

      56.    Answering paragraph 56, Defendants deny that Doe informed them

of the allegations, and therefore they lack sufficient knowledge and information to

admit or deny the allegations and therefore deny the allegations.

      57.    Answering paragraph 57, Defendants deny that Doe informed them

of the allegations, and therefore lack sufficient knowledge and information to

admit or deny the allegations and therefore deny the allegations.

      58.    Answering paragraph 58, Defendants deny that Doe informed them

of the allegations, and therefore they lack sufficient knowledge and information to

admit or deny the allegations and therefore deny the allegations.




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      59.    Answering paragraph 59, Defendants deny that Doe informed them

of the allegations, and therefore they lack sufficient knowledge and information to

admit or deny the allegations and therefore deny the allegations.

      60.    Answering paragraph 60, Defendants admit that on January 12, 2017,

Mr. Haynes, assistant principal Lewis, and Missoula County Addiction counselor

Rowe met with Doe briefly until the discussion was postponed until Doe’s parents

could be involved. Defendants deny that Doe informed them of the remaining

allegations, and therefore they lack sufficient knowledge and information to admit

or deny the remaining allegations and therefore deny the allegations.

  Response to Allegations in Section Titled “I saw all the signs and failed to
                                  respond”

      61.    Answering paragraph 61, Defendants admit that Mr. Haynes

contacted Doe’s parents and that he met with them and Doe the next morning.

Defendants deny Mr. Haynes made the comments attributed to him in this

paragraph. Defendants state that Doe’s parents did the talking at the meeting.

      62.    Answering paragraph 62, Defendants admit that Missoula Sheriff’s

Office Lieutenant Robert Kennedy contacted Mr. Haynes prior to his meeting with

Doe and her parents and informed him that the office had received a complaint of

possible child abuse. Defendants lack sufficient knowledge and information to

admit or deny the remaining allegations and therefore deny the allegations.




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 Response to Allegations in Section Titled “FSD Finds Just Cause to Suspend
                                 Mr. Bashor.”

      63.    Answering paragraph 63, Defendants admit that on January 13, 2017,

Superintendent Cline (not Mr. Haynes) placed Mr. Bashor on administrative leave

with pay, pending an investigation.

      64.    Answering paragraph 64, Defendants admit the allegations.

      65.    Answering paragraph 65, Defendants admit the allegations.

      66.    Answering paragraph 66, Defendants deny the allegations.

      67.     Answering paragraph 67, Defendants lack sufficient knowledge and

information to admit or deny the allegations and therefore deny the allegations.

Defendants state that Doe’s mother informed Mr. Haynes that officer Kennedy had

instructed Doe not to participate in any further discussions, and that Defendants

never received a copy of Doe’s criminal interview.

      68.    Answering paragraph 68, Defendants admit the allegations.

      69.    Answering paragraph 69, Defendants admit that upon serving his

suspension, Mr. Bashor was allowed to return to school but Defendants deny that

he was allowed to return without any limits on his contacts with Doe. Defendants

state that Mr. Haynes called Doe’s mother to inform her that Mr. Bashor would be

present at the school the next Monday. Defendants admit that the parents sought a

restraining order but lack sufficient knowledge and information to admit or deny

the remaining allegations and therefore deny them.

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      70.     Answering paragraph 70, Defendants admit that on February 24,

2017, Missoula Justice of the Peace Landee Holloway entered a temporary order of

protection.

      71.     Answering paragraph 71, Defendants admit that after a hearing,

Justice Holloway entered an order permanently restraining Mr. Bashor and ordered

that he remain 15 feet away from Doe at the Frenchtown High School and 1500

feet away from Doe at other locations. Defendants deny that Justice Holloway

found that Doe was in danger of harm from Mr. Bashor.

      72.     Answering paragraph 72, Defendants admit the allegations.

      73.     Answering paragraph 73, Defendants admit that Superintendent Cline

wrote a letter informing Doe’s parents that, among other things, the District had

conducted an investigation and found that “Mr. Bashor did violate boundaries with

your daughter” but that the District “could not substantiate allegations of

inappropriate sexual contact.” Further, Defendants deny that the letter discussed

Mr. Bashor’s suspension but admits that the letter stated that Mr. Bashor was

instructed to have no contact with Doe and to refrain from physically contacting or

texting any student anything unrelated to a specific school activity. Defendants

admit that the letter states that if Doe believes she is being retaliated by any person

due to her involvement in this process, to let Mr. Cline know as soon as possible.




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       Response to Allegation in Section Titled “FSD’s Deliberate Indifference
                            to Retaliation Against Doe”

      74.     Answering paragraph 74, Defendants deny the allegations.

Defendants state that they investigated all claims of harassment or retaliation that

were reported to them.

      75.     Answering paragraph 75, Defendants admit that Doe and her mother

made reports to Mr. Haynes about instances they perceived to be harassment or

bullying, but Defendants deny that they were made on a daily basis and deny that

the administrators and teachers made no meaningful attempt to stop it. Defendants

state that they investigated all claims reported to them.

      76.     Answering paragraph 76, Defendants lack sufficient knowledge and

information to admit the allegations and therefore deny the allegations. Defendants

state that Mr. Haynes investigated all allegations of harassment that were reported

to him and deny that Doe informed them about many of the allegations in this

paragraph.

      77.     Answering paragraph 77, Defendants admit that Doe was in a

creative writing class with other students on March 23, 2017, but deny the

remainder of the allegations in this paragraph. Defendants further state that District

teachers and staff were repeatedly told to report and/or intervene if they witnessed

any conduct that could be considered harassment or bullying.




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      78.      Answering paragraph 78, Defendants lack sufficient knowledge and

information to admit or deny the allegations about Doe receiving a text or the

contents of the text and therefore deny the allegations. Defendants deny the

remaining allegations in the paragraph, specifically the allegations that pertain to

Ms. Phippin.

      79.      Answering paragraph 79, Defendants admit that Doe reported to Mr.

Haynes that she was bumped by another student who she could not name and that

he told her the security cameras were not working and the student could not be

identified. Defendants admit that upon a report of another instance, Mr. Haynes

reviewed the security tape and informed Doe that the contact did not appear to be

intentional and involved a student different from the first incident. Defendants state

that Mr. Haynes called Doe’s mother and asked her if she wanted to come to the

school and review the tape to see it for herself, but she declined.

      80.      Answering paragraph 80, Defendants deny that Doe informed them

of the allegations, and therefore lack sufficient knowledge and information to

admit or deny the allegations and therefore deny the allegations. Defendants state

that teachers were told to watch out for any behavior or conduct that could be

considered harassment, and no teachers reported this to Defendants.

      81.      Answering paragraph 81, Defendants lack sufficient knowledge and

information to admit or deny the allegations related to students’ attempts to friend



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her on social media or sending her threatening messages and therefore deny the

allegations. Defendants admit that one student used Doe’s name in an online post

related to a news article but clarifies it was removed after Mr. Haynes addressed

the issue. Defendants deny that Kailey Hood was an adult school volunteer and

clarifies that the District has no control over her actions. Defendants admit that

Doe’s mother brought issues such as these to Mr. Haynes’ attention and clarifies

that he investigated each report to him. Defendants deny the remaining allegations

in the paragraph.

      82.     Answering paragraph 82, Defendants deny the allegations that Doe

faced retaliation from teachers and administrators at the District, and state that the

District held meetings with staff asking them to watch for, stop and report any

signs that Doe was the subject of any harassment or bullying. Defendants further

state that they promptly investigated and addressed all reports of possible

harassment, bullying and retaliation. Defendants state that a Frenchtown

Elementary School teacher circulated a link to a Go Fund Me website started by a

member of the public. Defendants, upon learning of the link, sent an email to staff

instructing them to immediately delete the email, and the elementary teacher was

instructed that sending the link was inappropriate and was instructed not to use

District email in relation to Mr. Bashor. Defendants deny the remaining

allegations in this paragraph.



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      83.     Answering paragraph 83, Defendants admit that Doe’s parents

appraised Mr. Haynes about allegations Doe believed were harassment, but

Defendants deny little was done to stop it. Defendants state they promptly

investigated and acted on all allegations brought to their attention.

      84.     Answering paragraph 84, Defendants deny the allegations.

      85.     Answering paragraph 85, Defendants deny the allegations.

      86.     Answering paragraph 86, Defendants deny that Doe informed them

of the allegations, and therefore they lack sufficient knowledge and information to

admit or deny the allegations and therefore deny the allegations.

      87.     Answering paragraph 87, Defendants deny the allegations.

      Response to Allegations in section titled “Superintendent Cline Attacks
Doe’s Credibility in the Missoulian”

      88.     Answering paragraph 88, Defendants admit that Superintendent Cline

sent a press release to the Missoulian, and it was the newspaper that decided to

publish it as an opinion piece. The content of the piece speaks for itself and

Defendants deny the remaining allegations in this paragraph.

      89.     Answering paragraph 89, Defendants assert that the contents of the

article speak for itself and deny any allegation of wrongdoing.

      90.     Answering paragraph 90, Defendants deny the allegations.

      91.    Answering paragraph 91, Defendants deny the allegations.




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      92.    Answering paragraph 92, Defendants lack sufficient knowledge and

information to admit or deny the allegations and therefore deny the allegations.

      93.    Answering paragraph 93, Defendants lack sufficient knowledge and

information to admit or deny the allegations and therefore deny the allegations.

Defendants state that these actions, if any, occurred off of school grounds that

Defendants cannot control.

      94.    Answering paragraph 94, Defendants admit that Doe left Frenchtown

High School but deny the remaining allegations in the paragraph.

      95.    Defendants lack sufficient knowledge and information to admit or

deny the allegations and therefore deny the allegations.

                    Response to Plaintiffs’ First Claim for Relief

      96.    Answering paragraph 96, Defendants incorporate their prior

responses.

      97.    Answering paragraph 97, Defendants deny the allegations.

      98.    Answering paragraph 98, Defendants deny the allegations.

      99.    Answering paragraph 99, Defendants deny the allegations.

      100. Answering paragraph 100, Defendants deny the allegations.

      101. Answering paragraph 101, Defendants state that they did not violate

Title IX and therefore deny they caused Doe to experience emotional or mental

distress damages.



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      102. Answering paragraph 102, Defendants state that they did not violate

Title IX and deny the allegations.

                 Response to Plaintiffs’ Second Claim for Relief

      103. Answering paragraph 103, Defendants incorporate their prior

responses.

      104. Answering paragraph 104, Defendants deny the allegations.

      105. Answering paragraph 105, Defendants deny the allegations.

      106. Answering paragraph 106, Defendants deny the allegations.

      107. Answering paragraph 107, Defendants deny the allegations.

      108. Answering paragraph 108, Defendants deny they violated Title IX and

deny the allegations of damages.

      109. Answering paragraph 109, Defendants deny they violated Title IX and

deny the allegations of damages.

                  Response to Plaintiffs’ Third Claim for Relief

      110. Answering paragraph 110, Defendants incorporate their prior

responses.

      111. Answering paragraph 111, Defendants admit that Title IX prohibits

retaliation for reports of sexual harassment or assault.

      112. Answering paragraph 112, Defendants deny the allegations.

      113. Answering paragraph 113, Defendants deny the allegations.



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      114. Answering paragraph 114, Defendants deny the allegations.

                 Response to Plaintiff’s Fourth Claim for Relief

      115. Answering paragraph 115, Defendants incorporate their prior

responses.

      116. Answering paragraph 116, Defendants deny the allegations.

      117. Answering paragraph 117, Defendants admit that Superintendent

Cline had supervisory control over Mr. Bashor in his role as a teacher.

      118. Answering paragraph 118, Defendants deny the allegations.

      119. Answering paragraph 119, Defendants deny the allegations.

      120. Answering paragraph 120, Defendants deny the allegations.

      The remainder of Plaintiffs’ Complaint is a prayer for relief to which no

response is necessary. To the extent a response is necessary, Defendants deny any

allegations of wrongdoing or that they caused any damage to Plaintiffs.

                Defendants Defenses and Affirmative Defenses.

                                   First Defense

      121. Plaintiffs complaint fails to state claims upon which relief may be

granted.

                                 Second Defense

      122. Defendants did not violate Title IX because they had polices designed

to prevent and correct discrimination and, upon proper and actual notice of



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allegations of discrimination, conducted a prompt and thorough investigation of

Plaintiffs’ allegations and implemented appropriate disciplinary sanctions and

other corrective actions to address Doe’s allegations and to remediate the effects of

that conduct on her. Many of the allegations in the Complaint were not reported to

Defendants prior to the filing of this lawsuit. As such, Defendants did not have

adequate and actual notice of those allegations.

                                     Third Defense

      123. Defendants did not act with deliberate indifference in response to

Plaintiffs’ allegations.

                                       Fourth Defense

      124. Defendants did not deprive Doe of access to the educational benefits

or opportunities provided by the District.

                                        Fifth Defense

      125. Superintendent Cline is entitled to qualified immunity.

                                        Sixth Defense

      126. Neither Plaintiffs nor Doe were deprived any Constitutional right.

                                        Seventh Defense

      127. The damages cap and prohibition against punitive damages applicable

            to School Districts in Montana are applicable to this case.

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                                   Eighth Defense

      128. The Plaintiffs have failed to join a required party. F.R.Civ.P.

19(a(1)).

                                   Ninth Defense

      129. The Plaintiff(s) have failed to mitigate their damages.

                                   Tenth Defense

      130. Plaintiffs have failed to pursue claims in the name of the real party in

interest and have failed to identify themselves in accordance with F.R.Civ.P. 17(a)

and have failed to use their proper names as required in the title of the case.

Further, jurisprudence requires identification of the parties in interest. Doe v.

Kamehameha Schools, 596 F.3d 1036,1042 (9th Cir. 2010).

                                  Eleventh Defense

      140. Plaintiffs T.C. and G.C. do not have standing to assert claims against

Defendants.

                                  Twelfth Defense

      141. Plaintiffs’ claimed damages, if any, were not caused by the conduct of

the Defendants and were caused, in whole or in part, by the intervening,

superseding, negligent and/or intentional conduct of another person.

      WHEREFORE, having fully answered Plaintiffs’ complaint, Defendants

pray as follows:



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      1.    That the Court dismiss Plaintiffs’ Complaint.

      2.    That the Court enter judgment in favor of Defendants.

      3.    That Defendants recover their attorney fees, costs and disbursements

incurred herein;

      4.    That Defendants be granted such other and further relief as the Court

deems just and equitable.



DEFENDANTS DEMAND A JURY TRIAL OF ALL TRIABLE ISSUES



      Dated this 13th day of April, 2018.

                                      KALEVA LAW OFFICES
                                      Attorney for Defendants Frenchtown
                                      School District and Randy Cline

                                       /s/ Kevin Twidwell




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                               Certificate of Service

      I hereby certify that I electronically filed the foregoing with the Clerk of
Court for the Federal District Court of Montana, Missoula Division, by CM/ECF.

      I certify that all participants in this case are registered CM/ECF users, who
receive service electronically through the CM/ECF system:

      Peter Michael Meloy
      MELOY LAW FIRM
      P.O. Box 1241
      Helena, MT 59624-1241
      406.442.8670

      John Clune
      Lauren E. Groth
      HUTCHINSON BLACK AND COOK, LLC
      921 Walnut St., Suite 200
      Boulder, CO 80302
      303.442.6514

      Dated this 13th day of April, 2018.

                                       KALEVA LAW OFFICES
                                       Attorney for Defendants Frenchtown
                                       School District and Randy Cline

                                        /s/ Kevin Twidwell




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